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Plaintiff,
vs. cr. No. 05-20123 - Ml

DEBORAH McGlNNlS

Defendant.

 

ORDER RESETTING SUPPRESS|ON HEARiNG DATE

 

For good cause shown, and without objection by the government, defendant
Deborah McGinnis’ motion to reset the suppression hearing is hereby GRANTED. The

suppression hearing is RESET Thursday, September 22, 2005, at 3:00 p.m.

lt is 30 oRDERED, this the U{ day of July, 2005.

Mii

JON HlPPS McCALLA
Unit d States District Court Judge

 
 
  

 

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UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT OFTENNESSEE

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Honcrable J on McCalla
US DISTRICT COURT

